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  22-1291-cv
       United States Court of Appeals
                                  for the

                       Second Circuit

    UNITED STATES SECURITIES AND EXCHANGE COMMISSION,


                                                             Plaintiff-Appellee,


                                  – v. –


                               ELON MUSK,


                                                          Defendant-Appellant.

                    ––––––––––––––––––––––––––––––
        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK

              PETITION FOR PANEL REHEARING
                 AND REHEARING EN BANC



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                INTRODUCTION & RULE 35(B) STATEMENT

      This case presents a question of exceptional importance—whether the

Constitution imposes any limit on the SEC’s ability to require that defendants waive

constitutional rights as a condition of settling a securities fraud action. The SEC has

told this Court it does not. SEC Br. 50-51 (arguing unconstitutional conditions

doctrine is “inapplicable” to SEC settlements). Litigants have asked this Court to

decide this question, but this Court has avoided addressing it. As a district court in

this Circuit noted recently, when the SEC demands the waiver of First Amendment

rights as part of a settlement, “the federal judiciary is made complicit in this practice”

as “[c]ourts are called upon to turn a blind eye to First Amendment rights being used

as a bargaining chip; to endorse consent decrees, giving [the provisions] the

imprimatur of judicial sanction; and to enforce them should defendants ever step out

of line. This is troubling indeed.” SEC v. Moraes, 2022 WL 15774011, at *1

(S.D.N.Y. Oct. 28, 2022). Rehearing, or in the alternative, rehearing en banc is

warranted to address this important question.

      Two years ago, the Court declined to address the enforceability of the SEC’s

gag rule, which requires any defendant settling with the SEC to waive certain First

Amendment rights, in SEC v. Romeril, 15 F.4th 166 (2d Cir. 2021). Here, the panel

(Livingston, C.J., Kahn, J., Raggi, J.) deemed forfeited Appellant Elon Musk’s

argument regarding the unenforceability of the much broader prior restraint the SEC
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demanded of him. The panel opted not to address the argument even though the

SEC previously sought to hold Mr. Musk in contempt for failing to comply with the

pre-approval provision and continues to police Mr. Musk’s compliance with it,

chilling Mr. Musk’s speech.

      In doing so, the panel overlooked that the briefing below specifically

addressed the unenforceability of any waiver of First Amendment rights, that the

question is purely one of law, and that the continuing nature of the consent decree

means that this issue may be raised again—as even the SEC admits (SEC Br. at 43).

Indeed, the district court neglected to rule on the argument only because this Court

in Romeril also failed to address whether the SEC’s extraction of the waiver of First

Amendment rights as a condition of settlement could be enforced. A275 & n.6

(declining to consider enforceability based on Romeril but noting Mr. Musk referred

to the pending certiorari petition). Panel rehearing is warranted so that the panel

can address the substance of Mr. Musk’s argument.

      The decision also warrants review by the full Court, however, because it

presents an issue of exceptional importance and because it conflicts with Supreme

Court authority. Although the panel did not address the enforceability of the waiver

of First Amendment rights, the decision nonetheless posits that Mr. Musk either had

to forego a settlement with the SEC or give up his right to challenge the

constitutionality of the SEC’s demands. Supreme Court law holds otherwise.


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      The Supreme Court has held that “the Government ‘may not deny a benefit to

a person on a basis that infringes his constitutionally protected . . . freedom of speech

even if he has no entitlement to that benefit.’” All. for Open Soc’y Int’l, Inc. v. U.S.

Agency for Int’l Dev., 570 U.S. 205, 214 (2013) (citation omitted). Yet the SEC here

conditioned the settlement of the underlying action on Mr. Musk’s agreement to a

provision requiring pre-approval of statements on a range of topics, subject to SEC

oversight and the court’s contempt powers, with no expiration date. This prior

restraint on Mr. Musk’s speech extends beyond the statements that the SEC had

alleged in the settled 2018 action violated the securities laws (statements that a nine-

member jury unanimously determined did not violate Section 10(b) of the Exchange

Act, see ECF 61). Rather, the prior restraint is so broad that the SEC did not even

argue it bears a close relationship to the settled action. The panel’s conclusion that

Mr. Musk was free to negotiate or litigate the underlying action—but not challenge

the constitutionality of the SEC’s condition of settlement—cannot be reconciled

with Supreme Court precedent on unconstitutional conditions, which seeks to

prevent the government from obtaining via agreement what it could not otherwise

legally obtain.

      Indeed, the decision undermines the unconstitutional conditions doctrine,

meriting en banc review. The SEC has taken the position that the Constitution does

not circumscribe what it may demand of settling defendants. The Court’s failure to


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address this question leaves the SEC free to demand broad waivers of constitutional

rights—seemingly without limit—so long as the defendant is desperate enough to

settle. This Court should grant rehearing en banc to ensure that it carries out its role

in protecting constitutional rights from government interference. Resolution of this

question will provide meaningful guidance to district courts in this Circuit and the

98 percent of defendants who settle enforcement actions with the SEC, who may

lack the resources to challenge the SEC’s practice of mandating constitutionally

suspect concessions in settlements.

                             FACTUAL STATEMENT

      1.     In 2018, Mr. Musk and the SEC entered into a consent decree to resolve

charges brought by the SEC alleging Mr. Musk violated Exchange Act Section 10(b)

by posting certain statements on Twitter regarding a potential transaction to take

Tesla private. A50. The court entered a judgment in accordance with the terms of

the consent decree, restraining Mr. Musk from violating Section 10(b), requiring Mr.

Musk to pay a $20 million fine, and requiring Mr. Musk to resign from his role as

Chairman of the Board of Directors of Tesla. A51, A53. The judgment also required

that Mr. Musk obtain pre-approval for written communications that contain or

reasonably could contain, information material to the Company or its shareholders.

A53-54.

      2.     In February 2019, the SEC sought to hold Mr. Musk in contempt of



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court for a tweet it believed violated the pre-approval provision. A75. Faced with

the possibility of being held in contempt of court for publishing a tweet, Mr. Musk

agreed to amendments to the initial consent decree, which replaced the materiality

standard of the pre-approval provision with wide-ranging categories of information.

A231-32. The district court entered an amended judgment, the terms of which

subject Mr. Musk to the possibility of being held in contempt of court even for

publishing truthful, non-material information about Tesla. Id.

      3.     Following entry of the amended judgment, the SEC has continued to

inquire whether Mr. Musk’s tweets have been submitted for pre-approval. A57-58,

A253-54; SA33. In November 2021, the SEC launched an investigation into Mr.

Musk’s compliance with the consent decree and amended judgment. CA24-25. Mr.

Musk moved to quash the subpoena issued to him and for relief from the amended

judgment on the basis that the pre-approval provision is an unconstitutional prior

restraint that the SEC has abused to police Mr. Musk’s First Amendment speech.

A243; see also SA36-39; A255.

      4.     The district court denied Mr. Musk’s motion. In addressing whether

the amended judgment should be vacated or modified, the district court concluded

that Mr. Musk had knowingly and willingly entered into the consent decree and that

he had not demonstrated changed circumstances justifying relief from judgment.

A278-79. The district court, relying on Romeril, determined that it did not need to


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address the constitutionality of the pre-approval provision because Mr. Musk had

waived his First Amendment rights in agreeing to the terms of the settlement. A274-

75 & n.5. As a result, the district court did not address Mr. Musk’s arguments

regarding the enforceability of the pre-approval provision.

      5.     Mr. Musk appealed the district court’s denial of his motion to modify

the amended judgment. A284. On May 15, 2023, a panel of this court (Livingston,

C.J., Kahn, J., Raggi, J.) issued a summary order affirming the district court. The

panel decision rejected Mr. Musk’s request for relief based on changed

circumstances, reasoning that Mr. Musk should have anticipated the SEC’s requests

for information on his compliance with the consent decree and amended judgment.

Op. 5. Relying on a provision of the consent decree inapplicable to the pre-approval

provision, the panel erroneously held that Mr. Musk agreed to “provide such

evidence” of compliance with the provision. Op. 4. As to Mr. Musk’s argument

that the pre-approval provision in the amended judgment infringes Mr. Musk’s First

Amendment rights, the panel concluded that, because Mr. Musk had agreed to the

consent decree, he could not object to it “merely because he has now changed his

mind.” Op. 6. The panel declined to address Mr. Musk’s argument that the pre-

approval provision—as an unconstitutional prior restraint extracted as a condition of

settlement with the SEC—cannot be enforced, indicating in a footnote that Mr. Musk

had forfeited the argument by failing to raise it in the district court. Op. 6 n.3.


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                                    ARGUMENT

I.    THE PANEL OVERLOOKED THAT MR. MUSK DID NOT FORFEIT
      HIS UNENFORCEABILITY ARGUMENT

      The panel should grant rehearing to address Mr. Musk’s arguments that the

pre-approval provision in the amended judgment cannot be enforced. The panel

neglected to rule on this issue only by overlooking Mr. Musk’s arguments regarding

enforceability in the district court and the continuing chilling effect the

unconstitutional prior restraint has on Mr. Musk’s speech. Fed. R. App. P. 40(a)(2).

      Specifically, the panel overlooked that, as set forth in Mr. Musk’s reply brief

on appeal (at 20-21), Mr. Musk raised the unenforceability of the prior restraint

embodied in the consent decree and amended judgment before the district court. As

a result, the panel incorrectly concluded that Mr. Musk had forfeited this argument.

       The district court briefing demonstrates that Mr. Musk preserved this issue.

In his opening brief in the district court, Mr. Musk argued that “[e]nforcement of the

decree in the present circumstances also poses a grave threat to Mr. Musk’s First

Amendment rights,” SA36, and argued that the court should pay special attention

“when a party seeks modification of a . . . consent decree that arguably relates to

vindication of a constitutional right,” id. (quoting Rufo v. Inmates of the Suffolk Cnty.

Jail, 502 U.S. 367, 383 n.7 (1992)). Mr. Musk likewise contended before the district

court that, under United States v. Quattrone, 402 F.3d 304, 310 (2d Cir. 2005), “[a]ny

imposition of a prior restraint . . . bears ‘a heavy presumption against its


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constitutional validity.’” SA22. And Mr. Musk expressly requested that “the Court

should modify the consent decree to remove the prior restraint on Mr. Musk’s

speech,” which was “patently unconstitutional.” SA38.

      In his reply brief, and in response to the SEC’s argument that Mr. Musk had

waived his First Amendment rights, Mr. Musk explained why any waiver was

unenforceable. Specifically, Mr. Musk cited to Crosby v. Bradstreet Co., 312 F.2d

483 (2d Cir. 1963), in response to the SEC’s reliance on Romeril. SA47, SA54.

Mr. Musk argued that “Crosby v. Bradstreet Co., 312 F.2d 483, in which the Second

Circuit vacated a consent decree on First Amendment grounds, remains the

controlling law in this Circuit.” SA54 (emphasis added). Mr. Musk then quoted

Crosby to point out specifically that a court may not enforce a prior restraint even if

the parties consented to it because “that the parties may have agreed to it is

immaterial.” Id. (emphasis in original). And Mr. Musk cited Mr. Romeril’s then-

pending petition for certiorari for the authority in it explaining that “courts lack

power to enforce prior restraints and content and viewpoint-based speech restrictions

as settlement conditions, even when entered with consent.” Id.

      In so arguing, Mr. Musk placed before the district court whether the “waiver

of his First Amendment rights is unenforceable.” Op. 6, n.3. The panel overlooked

these arguments and therefore should address Mr. Musk’s argument that the pre-

approval provision cannot be enforced.


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      Beyond the specific arguments that Mr. Musk raised, the panel’s rejection of

Mr. Musk’s unenforceability argument overlooks both the continuing nature of the

consent decree and the purely legal nature of the question before the Court. A court

approving a consent decree always “retains the authority, and the responsibility, to

make further amendments to [an] existing order or any modified decree it may enter

as warranted by the exercise of its sound discretion.” Brown v. Plata, 563 U.S. 493,

542 (2011); see also 47 Am. Jur. 2d Judgments § 653 (“[A] judgment allegedly void

on constitutional grounds is subject to attack at any time.”)). Courts regularly

entertain constitutional challenges to consent decrees years after the decrees were

signed. See, e.g., Frew v. Hawkins, 540 U.S. 431, 435 (2004) (considering merits of

challenge to enforceability of consent decree signed two years prior to challenge);

Overbey v. Mayor of Balt., 930 F.3d 215, 222 (4th Cir. 2019) (declaring consent

decree “unenforceable and void” based on First Amendment grounds), reversing

2017 WL 5885657 at *1 (D. Md. Nov. 29, 2017) (noting action filed three years after

signing of consent decree); United States v. Witco Corp., 76 F. Supp. 2d 519, 521,

531 (D. Del. 1999) (resolving defendant’s constitutional challenge to consent decree

eight years after entry).

      Further, when presented with a legal question like the enforceability of the

pre-approval provision, this Court is “more likely to exercise [its] discretion” to

address it even if raised for the first time on appeal. Baker v. Dorfman, 239 F.3d


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415, 420 (2d Cir. 2000); see, e.g., Ware v. L-3 Vertex Aerospace, LLC, 833 F. App’x

357, 359 (2d Cir. 2020) (exercising this discretion); Booking v. Gen. Star Mgmt. Co.,

254 F.3d 414, 419 (2d Cir. 2001) (same). And review is particularly warranted here

because the result of the panel’s decision delaying resolution of this question means

that the pre-approval provision continues to cast an unconstitutional chill over

Mr. Musk’s speech whenever he considers making public communications. See

Citizens United v. Schneiderman, 882 F.3d 374, 381 (2d Cir. 2018) (where

government action prevents “engaging in further speech,” “[s]uch chilling of

expression is repugnant to the First Amendment”).

      The enforceability of the consent decree is a ripe and important issue that the

panel should decide on its merits.1




      1
         Rehearing also would allow the panel to correct certain errors in its opinion.
First, the decision incorrectly states that the consent decree envisioned that
Mr. Musk would have to provide evidence of his compliance with the pre-approval
provision. Op. 4. But the consent decree’s provision concerning compliance
pertains only to “undertaking (a)”—the requirement that Mr. Musk resign from his
role as Chairman of the Board of Directors of Tesla. A44-45 (emphasis added).
Second, the decision states that “the SEC has opened just three inquiries into Musk’s
tweets since 2018” (Op. 4), when in fact the inquiries have spawned numerous
subsequent subpoenas about Mr. Musk’s compliance with the pre-approval
provision. And, third, the decision erroneously assumes the truth of the SEC’s
allegations underling these inquiries (Op. 4-5), but the SEC’s investigation is still
pending, and these are disputed questions. Indeed, the district court made a similar
error, which it corrected. See A282.

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II.   REHEARING OR REHEARING EN BANC IS WARRANTED TO
      ADDRESS MR. MUSK’S ARGUMENT THAT THE PRE-APPROVAL
      PROVISION IS AN UNCONSTITUTIONAL CONDITION

      Independently, rehearing is warranted because the panel decision conflicts

with Supreme Court precedent on the unconstitutional conditions doctrine, which

requires consideration of whether the SEC could condition settlement of the

underlying action on Mr. Musk’s waiver of his First Amendment rights as to

unrelated, future statements. Fed. R. App. P. 35(b).

      A.     The Panel Decision Cannot Be Reconciled With Supreme Court
             Precedent On Unconstitutional Conditions

      Although the panel stated it would not address Mr. Musk’s challenge to the

enforceability of the pre-approval provision (Op. 6 n.3), it indicated that Mr. Musk

simply could have “chose[n]” not to sign the consent decree and “negotiate[d] a

different agreement,” (Op. 6 (emphasis in original)). This statement contradicts

well-established law governing the unconstitutional conditions doctrine.

       The Supreme Court has long addressed—and invalidated—unconstitutional

conditions attached to a government benefit even when the complaining party agreed

to accept the benefit in exchange for the condition. See, e.g., Perry v. Sindermann,

408 U.S. 593, 597 (1972) (holding that unconstitutional conditions doctrine applies

“regardless of the public employee’s contractual or other claim to a job”); Legal

Servs. Corp. v. Velazquez, 531 U.S. 533, 539 (2001) (acceptance of funds no bar to

challenge); O’Hare Truck Serv., Inc. v. City of Northlake, 518 U.S. 712, 721 (1996)


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(addressing challenge by independent contractor that accepted employment offer);

F.C.C. v. League of Women Voters of Cal., 468 U.S. 364, 364 (1984) (analyzing

challenge of public broadcasting stations that accepted and disbursed federal funds);

Alliance for Open Society, 570 U.S. 206 (considering challenge by domestic

organization received funding under the challenged act). Even when ultimately

holding a condition constitutional, the Supreme Court has engaged in complete

analysis under the doctrine, regardless of whether the challenger had accepted the

government benefit. See, e.g., Rumsfeld v. F. for Acad. & Inst’l Rts., Inc., 547 U.S.

47, 59 (2006) (law schools received federal funding).2

      The Supreme Court in Alliance for Open Society, in which the Court held that

a funding condition ran afoul of the First Amendment even though the challenger




      2
           As numerous cases have held, a settlement with a government entity is a
benefit. See, e.g., Moreas, 2022 WL 15774011, at *4 (collecting cases); see also
Overbey, 930 F.3d at 219, 222 (invalidating waiver of First Amendment rights
demanded by the city even though “Overbey agreed to settle her suit”); Davies v.
Grossmont Union High Sch. Dist., 930 F.2d 1390, 1392 (9th Cir. 1991) (applying
the nexus test even though Mr. Davies “executed an agreement” waiving his rights);
Lil’ Man In The Boat, Inc. v. City & Cnty. of S. F., 2017 WL 3129913 at *9–10 (N.D.
Cal. July 24, 2017) (applying unconstitutional conditions argument to waiver as a
part of a contract to use government property); Stephens v. Cnty. of Albemarle, 2005
WL 3533428, at *6 (W.D. Va. Dec. 22, 2005) (unconstitutional conditions doctrine
must apply to settlement agreements because to hold otherwise “would vitiate the
unconstitutional conditions doctrine”); La. Pac. Corp. v. Beazer Materials & Servs.,
842 F. Supp. 1243, 1254 (E.D. Cal. 1994) (“[T]he doctrine of unconstitutional
conditions operates in a settlement context as a limitation upon the government’s
power to exact a waiver of constitutional rights.”).

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had received the funds, addressed the precise flaw that infects the panel’s decision

here. While, “[a]s a general matter, if a party objects to a condition on the receipt of

federal funding, its recourse is to decline the funds,” “[p]ursuant to this

‘unconstitutional conditions’ doctrine, as it has come to be known, the government

may not place a condition on the receipt of a benefit or subsidy that infringes upon

the recipient’s constitutionally protected rights, even if the government has no

obligation to offer the benefit in the first instance.” All. for Open Soc’y Int’l, 570

U.S. at 214. Instead, a court must analyze the condition to determine whether it

bears a close nexus to the benefit received. All. for Open Soc’y Int’l, 570 U.S. at

214-15 (“[T]he relevant distinction that has emerged from our cases is between

conditions that define the limits of the government spending program—those that

specify the activities Congress wants to subsidize—and conditions that seek to

leverage funding to regulate speech outside the contours of the program itself.”).3

The panel’s refusal to conduct this inquiry thus contravenes the long line of Supreme

Court cases on unconstitutional conditions.




      3
         The pre-approval provision here does not meet this test. Unlike in the
traditional plea bargaining context—or in Romeril—the government here required
Mr. Musk to waive rights not connected to the charged conduct. Just as a court may
not require a criminal defendant to waive the right to a jury trial on potential future
charges other than those giving rise to the plea, the government may not require that
Mr. Musk waive his right to speak freely on topics unconnected to the original
statements at issue.

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      Indeed, two members of the panel here previously recognized as much. The

Supreme Court in Alliance for Open Society reviewed this Court’s decision. All. for

Open Soc’y Int’l, Inc. v. U.S. Agency for Int’l Dev., 651 F.3d 218 (2d Cir. 2011),

cert. granted, 568 U.S. 1113 (Jan. 11, 2013) (No. 12-10). Prior to the Supreme

Court’s review, this Court denied the petition for rehearing en banc. 678 F.3d 127

(2d Cir. 2011). But Chief Judge Livingston and Judge Raggi joined a dissent from

the denial of rehearing en banc that criticized the panel for not analyzing the case

under the unconstitutional conditions doctrine, 678 F.3d at 130 (Cabranes, J.,

dissenting from denial of rehearing en banc, joined by Raggi, J., and Livingston, J.),

even though the plaintiffs had accepted the funding and even complied with the

condition “to avoid losing [the] funding,” 651 F.3d at 228.

      This Court should grant rehearing en banc to avoid repeating this error.

      B.     Whether The SEC May Extract Constitutionally Infirm
             Concessions In Settlements Is A Question Of Exceptional
             Importance
      The Court should grant rehearing en banc for the independent reason that

whether the SEC may demand constitutionally suspect concessions as part of

settlements is one of exceptional importance.

       First, the unconstitutional conditions doctrine serves as an important

safeguard on constitutional rights. Without it, the government could effectively

“deny a benefit to a person because of his constitutionally protected speech or



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associations, his exercise of those freedoms would in effect be penalized and

inhibited. This would allow the government to ‘produce a result which (it) could

not command directly.’        Such interference with constitutional rights is

impermissible.” Perry, 408 U.S. at 597 (quoting Speiser v. Randall, 357 U.S. 513,

526 (1958)).

      Second, the SEC routinely settles the actions it brings—by its own estimate,

it settles 98 percent of enforcement actions. Moraes, 2022 WL 15774011, at *2

(citing Luis A. Aguilar, Commissioner, U.S. Sec. & Exch. Comm’n., Remarks

Before the 20th Annual Securities and Regulatory Enforcement Seminar (Oct. 25,

2013) (“The SEC currently settles approximately 98% of its Enforcement cases.”)).

But the SEC has told this Court that the Constitution does not constrain the demands

it may place on settling defendants. SEC Br. at 50-51. Instead, the SEC has taken

the position that the unconstitutional conditions doctrine does not apply to its

settlements at all. Id. Yet this Court has refused to address the application of the

unconstitutional conditions doctrine to SEC settlements, declining to address the

issue in Romeril, even though the issue was presented in the briefing, and then

declining to address it again here. SEC v. Romeril, 15 F.4th 166 (2d Cir. 2021);

Appellant’s Br. at 39-41, Romeril, 15 F.4th 166 (No. 19-4197), 2020 WL 1934329

at *39-41; Op. 6 n.3. Because the SEC settles so many cases but has taken the

position that not even the Constitution limits the concessions it may demand from


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defendants, the Court’s failure to address this question is an abdication of the Court’s

duty to safeguard the constitutional rights of settling defendants. This Court should

not “turn a blind eye to First Amendment rights being used as a bargaining chip.”

Moraes, 2022 WL 15774011, at *1.

       Rehearing en banc is warranted to correct this troubling problem.

                                   CONCLUSION

      This Court should grant rehearing or rehearing en banc.



DATED: June 29, 2023                        Respectfully submitted,

                                            QUINN EMANUEL URQUHART &
                                            SULLIVAN LLP


                                         By /s/ Alex Spiro
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      DATED: June 29, 2023



                                             /s/ Alex Spiro
                                             Alex Spiro




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22-1291
SEC v. Musk

                        UNITED STATES COURT OF APPEALS
                            FOR THE SECOND CIRCUIT

                                    SUMMARY ORDER

RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A
SUMMARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY
FEDERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1.
WHEN CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST
CITE EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC DATABASE (WITH THE NOTATION
“SUMMARY ORDER”). A PARTY CITING A SUMMARY ORDER MUST SERVE A COPY OF IT ON
ANY PARTY NOT REPRESENTED BY COUNSEL.

        At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
15th day of May, two thousand twenty-three.

Present:    DEBRA ANN LIVINGSTON,
                  Chief Judge,
            REENA RAGGI,
            MARIA ARAÚJO KAHN,
                  Circuit Judges.
_____________________________________

SECURITIES AND EXCHANGE COMMISSION,

                      Plaintiff-Appellee,

                v.                                                  22-1291

ELON MUSK,

                  Defendant-Appellant.
_____________________________________

For Appellee:                               JEFFREY A. BERGER, Senior Appellate Counsel
                                            (Michael A. Conley, Solicitor, John R. Rady, Appellate
                                            Counsel, on the brief), for Dan Berkovitz, General
                                            Counsel, Securities and Exchange Commission,
                                            Washington, DC.

For Defendant-Appellant:                    ELLYDE R. THOMPSON, Quinn Emanuel Urquhart &
                                            Sullivan LLP, New York, NY and Washington, DC
                                            (Alex Spiro, William A. Burck, Rachel G. Frank, on the
                                            brief).

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       Appeal from an April 27, 2022, opinion and order of the United States District Court for

the Southern District of New York (Liman, J.).

       UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED that the judgment of the district court is AFFIRMED.

       Defendant-Appellant Elon Musk (“Musk”) appeals from an April 27, 2022, opinion and

order of the United States District Court for the Southern District of New York.      Musk argues

that the district court abused its discretion in denying his motion to modify or terminate a consent

decree he entered into with the Securities and Exchange Commission (“SEC”).       Musk argues that

the consent decree warrants modification both because of changed circumstances and because the

decree contains a “prior restraint” that violates the First Amendment; he further contends that he

did not validly waive his First Amendment rights in the consent decree and that even if he had, the

waiver is unenforceable. He therefore argues that a pre-approval provision should be struck from

the consent decree or, alternatively, that the decree should be modified or terminated.

       We assume the parties’ familiarity with the underlying facts, the procedural history of the

case, and the issues on appeal.

I.     Rule 60(b)(5)

       We review a district court’s decision on a Rule 60(b) motion for abuse of discretion,

granting relief only in “exceptional circumstances.”   Paddington Partners v. Bouchard, 34 F.3d

1132, 1142 (2d Cir. 1994) (internal quotation marks omitted); see also Sec’y of Hous. & Urban

Dev., 239 F.3d 211, 216 (2d Cir. 2001).

       “Rule 60(b) allows a party to seek relief from a final judgment, and request reopening of

his case, under a limited set of circumstances,” operating as “an exception to finality.” Gonzalez

v. Crosby, 545 U.S. 524, 528–29 (2005).     As relevant here, the rule provides that “the court may


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relieve a party or its legal representative from a final judgment” where “applying it prospectively

is no longer equitable.”    Fed. R. Civ. P. 60(b)(5).      To determine whether a modification or

termination is equitable, the movant must first show “either a significant change . . . in factual

conditions or in law.”      Rufo v. Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 384 (1992). 1

Significant changes in factual conditions may warrant equitable relief where (1) “changed factual

conditions make compliance with the decree substantially more onerous”; (2) “a decree proves to

be unworkable because of unforeseen obstacles”; or (3) “enforcement of the decree without

modification would be detrimental to the public interest.” Id.      “Once a moving party has met

its burden of establishing either a change in law or in fact warranting modification of a consent

decree,” the district court must then “determine whether the proposed modification is suitably

tailored to the changed circumstance.”     Id. at 391.

       Musk argues that the SEC’s methods of enforcing the consent decree constitute changed

circumstances that have made compliance with it substantially more onerous.           We disagree.

“Ordinarily, . . . modification should not be granted where a party relies upon events that actually

were anticipated at the time it entered into a decree.” Id. at 386.      The consent decree Musk

entered into with the SEC expressly required his compliance with “procedures implemented by

Tesla” regarding corporate communications, including those “made in any format, including, but

not limited to, posts on social media (e.g., Twitter).”   App’x 44–45.   The Tesla communications

policy in turn required that covered communications would be subject to a pre-approval process



       1
          The “flexible standard” adopted by the Supreme Court in Rufo made less stringent the
test imposed by United States v. Swift & Co., which required “a clear showing of grievous wrong
evoked by new and unforeseen conditions.” 286 U.S. 106, 119 (1932). Because the parties both
apply the Rufo standard, we assume without deciding that it applies here, arguably outside its
traditional context of institutional reform litigation.


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such that certain senior executives, including Musk, would not be “authorized to post or publish”

without first consulting with Tesla’s General Counsel or an in-house securities lawyer.      Id. at 55.

Initially, only tweets “that contain, or reasonably could contain, information material to [Tesla] or

its shareholders” were covered. Id. at 45.      Later, the parties amended the agreement to replace

the materiality standard with a list of specified subjects.   See id. at 231–32.   The consent decree

also required certification of compliance in the form of written reports and provided that the SEC

“may make reasonable requests for . . . evidence of compliance.”          Id. at 45.   Musk agreed to

“provide such evidence.”      Id.   The SEC subpoenas that gave rise to this litigation therefore

“actually were anticipated” by Musk. Rufo, 502 U.S. at 386.

       We see no evidence to support Musk’s contention that the SEC has used the consent decree

to conduct bad-faith, harassing investigations of his protected speech.    To the contrary, the record

indicates that the SEC has opened just three inquiries into Musk’s tweets since 2018. The first

resulted in the consent decree that is the subject of this appeal.    See App’x 16–17, 31 (tweet in

which Musk claimed that he was “considering taking Tesla private at $420” with “[f]unding

secured,” although Musk had allegedly “not even discussed, much less confirmed, key deal terms,

including price, with any potential funding source”); see also 15 U.S.C. § 78j, 17 C.F.R.

§ 240.10b-5 (making it unlawful to “make any untrue statement of a material fact . . . in connection

with the purchase or sale of any security”).     Two subsequent investigations sought information

regarding tweets published in 2019 and 2021.       See App’x 57–58 (seeking documents regarding

tweet that misstated Tesla’s annual production of vehicles); id. at 232, Confidential App’x 24–25

(seeking documents regarding Twitter poll in which Musk proposed selling 10% of his Tesla stock,

an “event[] regarding [Tesla’s]securities (including Musk’s acquisition or disposition of the

Company’s securities)”); see also id. at 27–28 (describing legal justifications for investigating the


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transactions). Each tweet plausibly violated the terms of the consent decree.     See Kozlowski v.

Coughlin, 871 F.2d 241, 245 (2d Cir. 1989) (explaining that it is “the parties’ consent [that]

animates the legal force of a consent decree” (internal quotation marks and citation omitted)).

Accordingly, the SEC made a “reasonable request” for information in order to investigate Musk’s

compliance with the decree, as provided for in the parties’ agreement. Whether or not the consent

decree may have “provide[d] broader relief than the court could have awarded after a trial” does

not detract from the SEC’s ability to enforce the agreement Musk voluntarily signed, the terms of

which plainly “[came] within the general scope of the case made by the pleadings” and “further[ed]

the objectives of the law upon which the complaint was based.”         Loc. No. 93, Int’l Ass’n of

Firefighters, AFL-CIO C.L.C. v. City of Cleveland, 478 U.S. 501, 525 (1986).        And even if we

agreed that any factual conditions had changed outside the contemplation of the parties—which

we do not—the SEC’s limited, appropriate inquiries in this case have not made compliance with

the consent decree “substantially more onerous” than could have been reasonably anticipated when

Musk agreed to the consent decree’s terms.    Rufo, 502 U.S. at 384.    “The exercise of equity . . .

does not permit a court to indulge a party’s discontent over the effects of its bargain.” Kozlowski,

871 F.2d at 246.

       Nor does the public interest require modification of the consent decree. If anything, it

cuts in the other direction, given the importance of the public’s interest in the enforcement of

federal securities laws and because “[o]ur Court recognizes a ‘strong federal policy favoring the

approval and enforcement of consent decrees.’” SEC v. Citigroup Glob. Markets, Inc., 752 F.3d

285, 293 (2d Cir. 2014) (quoting SEC v. Wang, 944 F.2d 80, 85 (2d Cir. 1991)). We conclude




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therefore that the district court was well within its sound discretion to deny Musk’s motion to

modify the terms of the consent decree. 2

II.    Waiver

       Musk’s argument that the consent decree is effectively a “prior restraint” on his speech

does not change this conclusion. Parties entering into consent decrees may voluntarily waive

their First Amendment and other rights.         See SEC v. Romeril, 15 F.4th 166, 172 (2d Cir. 2021).

Indeed, every consent decree by definition involves waiver of the right to trial, which saves the

parties “the time, expense, and inevitable risk of litigation.” United States v. Armour & Co., 402

U.S. 673, 681 (1971).     Had Musk wished to preserve his right to tweet without even limited

internal oversight concerning certain Tesla-related topics, he had “the right to litigate and defend

against the [SEC’s] charges” or to negotiate a different agreement—but he chose not to do so.

Romeril, 15 F.4th at 172. Having made that choice, he may not use Rule 60 to collaterally re-

open a final judgment merely because he has now changed his mind. 3         We express no view as to

the substance of his underlying First Amendment claims.

                                            *        *      *




       2
          It follows that the district court also acted within its discretion to deny Musk’s motion to
terminate the decree altogether, an argument Musk appears to have abandoned on appeal. Musk
in any event makes no showing that the objective of the consent decree “has been achieved,” nor
that a “durable remedy has been implemented” such that “continued enforcement of the order is not
only unnecessary, but improper.” Horne v. Flores, 557 U.S. 433, 450 (2009); see also United
States v. Eastman Kodak Co., 63 F.3d 95, 101 (2d Cir. 1995) (requiring that a movant show that
the “basic purposes of the consent decrees . . . have been achieved”).
       3
          Musk also argues that any waiver of his First Amendment rights is unenforceable.
Having not made that argument before the district court, Musk has forfeited it. See United States
v. Jones, 565 U.S. 400, 413 (2012).


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       We have considered Defendant-Appellant’s remaining arguments and find them to be

without merit.   Accordingly, we AFFIRM the judgment of the district court.

                                                  FOR THE COURT:
                                                  Catherine O’Hagan Wolfe, Clerk




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